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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

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                                   7     MARCIANO PLATA, et al.,                             Case No. 01-cv-01351-JST
                                                        Plaintiffs,
                                   8
                                                                                             ORDER RE: ISOLATION AND
                                                  v.                                         QUARANTINE SPACE
                                   9

                                  10     GAVIN NEWSOM, et al.,
                                                         Defendants.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13          At yesterday’s case management conference, the Court discussed with the parties whether

                                  14   it should order Defendants to set aside sufficient space at each institution to allow the institution to

                                  15   follow public health guidance on isolating and quarantining patients in the event of a COVID-19

                                  16   outbreak. The Court currently intends to issue such an order as soon as reasonably practicable.

                                  17          If they have not already begun doing so, the parties and the Receiver shall meet and confer

                                  18   regarding the elements they believe an order should include. The Court strongly encourages the

                                  19   involvement of medical and public health experts during this process. The Court understands that

                                  20   the Receiver has already started the process of identifying the number and type of beds he believes

                                  21   are required to isolate and quarantine patients at each institution, and that he intends to share that

                                  22   information, along with the standards he used to identify those numbers, with the parties as soon

                                  23   as possible. This information should provide a strong foundation for the parties’ discussion.

                                  24          If agreement can be reached on an appropriate order on this topic, the parties shall submit a

                                  25   stipulated proposed order for the Court’s review and approval by July 13, 2020.

                                  26          If agreement cannot be reached, then the parties shall file simultaneous briefing,

                                  27   accompanied by their separate versions of a proposed order, by the same date. The parties’

                                  28   responses shall be supported by medical and/or public health expertise. By July 17, 2020, the
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                                   1   parties shall file simultaneous oppositions to each other’s proposed orders, again supported by

                                   2   medical and/or public health expertise. Unless otherwise ordered, the Court will then take the

                                   3   matter under submission without a hearing.

                                   4          Although the Court at this time is not requesting the parties to submit a proposed order

                                   5   relating to staffing in case of an outbreak, the parties and the Receiver should continue to meet and

                                   6   confer on that topic. Among other questions, the parties and the Receiver should discuss plans to

                                   7   ensure adequate staffing at each institution, and the system as a whole, under different scenarios,

                                   8   including a large outbreak at one institution and simultaneous medium to large outbreaks at

                                   9   multiple institutions.

                                  10          IT IS SO ORDERED.

                                  11   Dated: July 7, 2020
                                                                                       ______________________________________
                                  12
Northern District of California




                                                                                                     JON S. TIGAR
 United States District Court




                                  13                                                           United States District Judge

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